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 4     (559) 233-3333
 5
       Attorney for Defendant
 6     PETER HALAMANDARIS
 7
 8                   UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11     UNITED STATES OF AMERICA,  )          Case No. 08 CR 201 OWW
                                  )
12          Plaintiff,            )
                                  )          STIPULATION TO APPLY
13          vs.                   )          $10,000 UNSECURED CASH BOND
                                  )          TO $10,000 FINE AND ORDER
14     PETER HALAMANDARIS,        )
                                  )
15          Defendant.            )
       ___________________________)
16
             It is stipulated and agreed between the parties that the
17
       $10,000 unsecured cash bond posted on August 31, 2009, by
18
       Peter Halamandaris as security for release pending sentencing
19
       in this case be applied to the $10,000 fine imposed by the
20
       Court on February 8, 2010.
21
             I hereby agree to the above stipulation.
22
       Dated: March 9, 2010
23
                                             s/J.M. Irigoyen
24                                           J.M. Irigoyen
                                             Attorney at Law
25
26
27
28           I hereby agree to the above stipulation

                                         1
     Case 1:08-cr-00201-OWW Document 130 Filed 03/11/10 Page 2 of 2


 1     Dated: March 9, 2010
                                             s/Kimberly Sanchez
 2                                           Kimberly Sanchez
                                             Assistant U.S. Attorney
 3
 4
 5     IT IS SO ORDERED.
 6     Dated: March 10, 2010                  /s/ Oliver W. Wanger
       emm0d6                            UNITED STATES DISTRICT JUDGE
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